21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 1 of
                                       15


                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

  IN RE:                                             §
                                                     §
  THE GATEWAY VENTURES, LLC                          §              CASE NO. 21-30071-hcm
                                                     §                  CHAPTER 11
                                                     §
           Debtor.                                   §


  WESTAR INVESTORS GROUP, LLC,                       §
  SUHAIL BAWA, AND SALEEM                            §
  MAKANI,                                            §
                                                     §
           Plaintiffs,                               §
                                                     §
  v.                                                 §         ADVERSARY NO. 21-03009-hcm
                                                     §
  THE GATEWAY VENTURES, LLC,                         §
  PDG PRESTIGE, INC., MICHAEL                        §
  DIXSON, SURESH KUMAR, AND                          §
  BANKIM BHATT                                       §

                         PLAINTIFFS’ SECOND AMENDED COMPLAINT

           Plaintiffs Westar Investors Group, LLC, Suhail Bawa and Saleem Makani file this second

  amended complaint against Defendants The Gateway Ventures, LLC, PDG Prestige, Inc., Michael

  Dixson, Suresh Kumar, and Bankim Bhatt, and would respectfully show the Court as follows:

                                                    I.

                                               PARTIES

           1.      Plaintiff Westar Investors Group, LLC is a domestic limited liability company doing

  business in Texas.

           2.      Plaintiff Suhail Bawa is an individual residing in Texas.

           3.      Plaintiff Saleem Makani is an individual residing in Texas.




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                         PAGE 1
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 2 of
                                       15


            4.    Defendant The Gateway Ventures, LLC is domestic limited liability company doing

  business in Texas and has already appeared herein.

            5.    Defendant PDG Prestige, Inc. is domestic corporation doing business in Texas and

  has already appeared herein.

            6.    Defendant Michael Dixson is an individual residing in Texas and has already

  appeared herein.

            7.    Defendant Suresh Kumar is an individual residing in Texas and has already appeared

  herein.

            8.    Defendant Bankim Bhatt is an individual residing in Texas and has already appeared

  herein.

                                                      II.

                                             JURISDICTION

            9.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b), (e)(1) as

  the state court case is arising under title 11 or arising in or related to cases under title 11 and involves

  claims against the property of the Debtor.

                                                      III.

                                        BACKGROUND FACTS

            10.   In or around October 2018, Defendants Suresh Kumar (“Kumar”) and his partner,

  Bankim Bhatt (“Bhatt”), approached Plaintiffs Suhail Bawa (“Bawa”) and Saleem Makani

  (“Makani’) about a possible project in El Paso, Texas to build a Marriott hotel. Bawa and Makani

  met with Kumar and Bhatt on or about November 19, 2018 to visit the hotel site.

            11.   At that time, Bhatt represented that he already had the Marriott Element Hotel “flag”

  approved for this hotel site, which was to be approximately 2.4 acres. It was also represented to

  Bawa and Makani by Kumar and Bhatt that the developer for this site was Defendant Michael

  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                                PAGE 2
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 3 of
                                       15


  Dixson (“Dixson”), and that he was developing the entire 20-acre tract where this project would be

  located. Bawa and Makani were told that the cost for the 2.4-acre parcel would be approximately

  $2.8 million. At that time, Bawa, Makani, Kumar and Bhatt agreed to be partners in the deal as

  follows: 35% for Makani, 35% for Kumar, 15% for Bawa and 15% for Bhatt.

         12.     Unbeknownst to Bawa and Makani at the time, Dixson was paying Kumar and Bhatt

  a substantial finder’s fee for bringing Bawa and Makani into this project. Also unbeknownst to Bawa

  and Makani, Kumar and Bhatt were gathering a separate group of investors to bid on a neighboring

  parcel on the same 20-acre tract to build a competing hotel.

         13.     Based on Kumar’s and Bhatt’s representations, Bawa and Makani paid a down

  payment to Dixon to secure the deal.

         14.     On or about December 12, 2018, Bawa, Makani and Kumar formed Plaintiff Westar

  Investors Group, LLC (“Westar”) for the purpose of acquiring the above-referenced tract to develop

  the Marriott Element Hotel. While he had been actively involved in the aforementioned deal, Bhatt

  was not listed as a member in Westar in the formation documents at that time.

         15.     However, Bhatt remained actively involved. On or about December 14, 2018, Dixson

  reached out to Bhatt and Kumar to notify them that he had two hotel sites on the aforementioned 20-

  acre parcel and that they would have the first option to purchase both. Again, this was completely

  unknown to Bawa and Makani.

         16.     Just a few days later, Westar entered into a written Interest Subscription Agreement

  and Real Property Contract with Defendant The Gateway Ventures, LLC (“Gateway”) and

  Defendant PDG Prestige, Inc. (“Prestige”), both of which are wholly owned and managed by

  Dixson, on December 17, 2018, as later restated and amended on April 2, 2019 (the “Agreement”).

         17.     Under the Agreement, Gateway and PDG agreed to sell and transfer to Westar

  approximately 2.3 acres of land located on Gateway Blvd., El Paso, Texas, as reflected on the site

  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                        PAGE 3
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 4 of
                                       15


  plan attached to the Agreement as Exhibit A, for the purpose of constructing the aforementioned

  Marriott Element hotel (the “Element Hotel Parcel”), in exchange for a purchase price of $2.35

  million (the “Purchase Price”).

         18.     On or about December 27, 2018, Dixson contacted Bhatt and Kumar to provide them

  with a site plan for the entire 20-acre property, including both hotel sites, once more behind Bawa

  and Makani’s backs.

         19.     On January 1, 2019, a Company Agreement of Westar was prepared by Kumar and

  Bhatt, whereby Bawa, Makani and Kumar were listed as members, and certain entities owned by

  Bhatt were also listed as members of Westar. Bawa and Makani did not sign or agree to this

  Company Agreement, but it was signed by Kumar.

         20.     A month later, on February 1, 2019, an Operating Agreement was prepared for

  Westar, in which Bhatt’s entities were no longer listed as members of Westar. Kumar and Bhatt

  stated that Bhatt should not be listed as a member; however, they represented that Kumar would be

  giving Bhatt a percentage of his ownership share in Westar. The Operating Agreement was signed

  by Bawa, Makani and Kumar.

         21.     Bhatt remained actively involved in the deal throughout the spring of 2019,

  continuing to be in regular communication with Dixson and Kumar. Further, it was Bhatt and Kumar

  who paid the franchise fee and provided the requested paperwork to Marriott for the “flag” for the

  deal, including providing Marriott with the invalid January 1, 2019 Westar Company Agreement

  listing his entities as members, while knowing that they were not members by virtue of the February

  1, 2019 Westar Operating Agreement.

         22.     The Agreement, as amended, provided that the closing for the sale of the Element

  Hotel Parcel would be within three months of the effective date, which was April 2, 2019 – making

  the closing date July 2, 2019.

  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                        PAGE 4
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 5 of
                                       15


          23.     However, Gateway and PDG failed to close on the Element Hotel Parcel on July 2,

  2019. Dixson, on behalf of Gateway and PDG, repeatedly misrepresented to Westar what amount of

  funds were to be deposited and when, and then claimed that Gateway and PDG could not close on

  time because of Westar.

          24.     In reality, at all times when Westar was asked to make a deposit towards the Purchase

  Price, it promptly did so. Some of the funds deposited towards the Purchase Price came from Bawa,

  some from Makani, and some from Kumar.

          25.     It was also represented that Westar’s investment in the Element Hotel Parcel would

  be used for Dixson, Gateway and PDG to acquire a loan to purchase the entire 20-acre tract where

  the Element Hotel Parcel was located. According to Dixson, without Westar’s investment, he could

  not close on the 20-acre tract.

          26.     In the meantime, Bawa and Makani reimbursed Kumar for the franchise fee for the

  Marriott “flag.” They also learned that Marriott had been provided with the invalid January 1, 2019

  Westar Company Agreement and therefore provided Marriott with the February 1, 2019 Westar

  Operating Agreement listing the proper members of Westar for the hotel deal so that Marriott could

  issue the final license for the deal.

          27.     This led Marriott to question the previous document that had been provided, namely

  the January 1, 2019 Westar Company Agreement listing different members. On or about July 10,

  2019, Kumar and Bhatt inexplicably told Marriott that it should use the invalid January 1, 2019

  Westar Company Agreement as the basis for issuing the license.

          28.     Marriott continued to believe the foregoing until October 2019, when Bhatt and

  Kumar finally notified Marriott that the only members in the deal should be those listed on the

  February 1, 2019 Westar Operating Agreement, not the invalid January 1, 2019 Westar Company



  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                          PAGE 5
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 6 of
                                       15


  Agreement. Bhatt finally signed a rescission of any interest he or any entity controlled by him had in

  Westar, but not until October 7, 2019.

         29.     Before the end of 2019, Westar had fully paid the entire amount of the Purchase Price

  to Gateway and PDG.

         30.     At around the same time, Bawa and Makani finally learned about the side project that

  Kumar and Bhatt had been leading since 2018 with a separate group of investors to close on a

  neighboring parcel of land out of the 20-acre tract that Gateway and PDG were developing (the

  “Side Project”), representing a gross conflict of interest by Kumar and Bhatt.

         31.     Worse yet, Kumar and his partners in the Side Project began making representation to

  Gateway and PDG regarding funds Kumar deposited with Gateway under the Agreement to be used

  for the Element Hotel Parcel. More specifically, Kumar and his partners in the Side Project made

  representations that certain funds Kumar had unambiguously paid to Gateway to be used for the

  Element Hotel Parcel were instead intended to be used for the Side Project.

         32.     Based on the foregoing, on January 30, 2020, Dixson, on behalf of Gateway/PDG

  sent correspondence to the Westar members representing that there was a dispute regarding

  $1,043,750 that had been deposited by Kumar and where those funds should be allocated: to the

  Element Hotel Parcel or to the Side Project.

         33.     Curiously, despite this claimed dispute as to which project Kumar’s funds should

  have been allocated to, Dixson had previously sent correspondence to Westar in or around December

  2019 which specifically detailed the funds that Kumar had deposited towards the Purchase Price for

  the Element Hotel Parcel, which funds Dixson now claimed were disputed.

         34.     In response to Dixson’s January 30, 2020 correspondence, Kumar stated in writing on

  January 31, 2020 that the sum of $822,500.00 out of the aforementioned funds was in fact intended

  to be allocated to the Element Hotel Parcel.

  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                           PAGE 6
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 7 of
                                       15


         35.     On February 6, 2020, Dixson, on behalf of Gateway/PDG wrote to the Westar

  members again and stated that, after taking into account Kumar’s $822,500 allocation, there

  remained due and owing on the Element Hotel Parcel approximately $41,000.00.

         36.     In response, that same day, Kumar stated in writing that an additional $41,000 out of

  the aforementioned funds was also intended to be allocated to the Element Hotel Parcel. Dixson

  acknowledged receipt of this on February 6, 2020.

         37.     Therefore, as of February 6, 2020, it was admitted and acknowledged in writing by all

  necessary parties that the entire amount of the Purchase Price had been paid by Westar and allocated

  to the Element Hotel Parcel.

         38.     However, despite having Kumar’s admissions in writing, Gateway and PDG still

  refuse to close on the Element Hotel Parcel, claiming there is still a “dispute” as to the allocation of

  Kumar’s funds.

         39.     If Kumar has in fact reneged on his written admissions and tries to re-allocate his

  investment from the Element Hotel Parcel to the Side Project, such would be a gross breach of his

  fiduciary duties to Westar. Kumar has, subsequent to February 6, 2020, refused to state his intentions

  in writing as to the allocation of those funds.

         40.     Additionally, upon information and belief, Gateway and PDG have attempted to

  change or relocate the site plan for the Element Hotel Parcel from the original agreed-upon site plan

  attached to the Agreement as Exhibit A, to another less-desirable location on the 20-acre tract. This

  was done without notice to Westar and without its approval. Westar agreed to purchase the Element

  Hotel Parcel at the location reflected on the site plan attached as Exhibit A to the Agreement and did

  not agree to Gateway’s unilateral change.




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                             PAGE 7
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 8 of
                                       15


         41.      Plaintiffs are entitled to either a refund of the entire Purchase Price under the

  Agreement, or alternatively, specific performance requiring Gateway to close on the sale of the

  Element Hotel Parcel.

         42.      Despite Westar’s demands, Gateway and PDG have refused to close or refund the

  Purchase Price to Plaintiffs.

         43.      Upon information and belief, Kumar, Bhatt and Dixson acted together to acquire

  millions of dollars from Westar and its members, Bawa and Makani, to be used to fund a loan to

  acquire the entire 20-acre tract of land, but with no intention of ever delivering the Element Hotel

  Parcel to them.

                                                  IV.

                                       CAUSES OF ACTION

                                        COUNT ONE –
                                    BREACH OF CONTRACT

         44.      Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

         45.      Gateway and PDG have materially breached the Agreement, as described in the

  foregoing paragraphs.

         46.      As a result of the foregoing acts or omissions by Gateway and PDG, Plaintiffs have

  been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which

  they now sue.

         47.      In addition or in the alternative, Plaintiffs seek specific performance requiring

  Gateway and PDG to close on the sale of the Element Hotel Parcel and transfer same to Plaintiffs,

  for which they now sue.




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                         PAGE 8
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 9 of
                                       15




                                  COUNT TWO –
                    MONEY HAD AND RECEIVED/UNJUST ENRICHMENT

          48.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

          49.     In addition or in the alternative, Gateway and PDG hold money that belongs to

  Plaintiffs in equity and good conscience and is due and owing, as set forth in the preceding

  paragraphs.

          50.     In addition or in the alternative, a benefit has been conferred upon Gateway and PDG

  and they will be unjustly enriched if they fail to remit the foregoing funds to Plaintiffs as set forth in

  the preceding paragraphs.

          51.     As a result of the foregoing acts or omissions by Gateway and PDG, Plaintiffs have

  been damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which

  they now sue.

                                        COUNT THREE –
                                    DECLARATORY JUDGMENT

          52.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

          53.     This controversy involves the parties’ rights and responsibilities under the

  Agreement. Thus, there is an actual and justiciable controversy between the parties over which this

  Court is vested with the power to determine and declare under the Texas Declaratory Judgments Act,

  Chapter 37 of the Texas Civil Practice and Remedies Code, and the Federal Declaratory Judgment

  Act, 28 U.S.C. § 2201.

          54.     Specifically, Plaintiffs seek a declaration that they have fully complied with all

  obligations and all conditions precedent under the Agreement, for which they now sue.

  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                               PAGE 9
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 10 of
                                        15


                                 COUNT FOUR –
                   STATUTORY FRAUD (TEX. BUS. & COM. CODE § 27.01)/
                            FRAUD BY NON-DISCLOSURE

          55.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

          56.     Defendants Dixson, Kumar and Bhatt each made false promises or representations of

  fact to Plaintiffs with regard to an agreement to purchase, acquire or transfer an interest in real estate,

  as described in the foregoing paragraphs. These Defendants’ false promises or representations of fact

  were made for the purpose of inducing Plaintiffs into an agreement to purchase, acquire or transfer

  an interest in real estate. Plaintiffs relied on these Defendants’ false promises or representations of

  fact by entering into the Agreement to purchase, acquire or transfer an interest in real estate, which

  reliance caused Plaintiffs injury. But for the false promises or representations of facts made by these

  Defendants, Plaintiffs would not have entered into the above-described transaction.

          57.     In addition or in the alternative, Defendants Dixson, Kumar and Bhatt concealed

  certain material facts from Plaintiffs, as described in the foregoing paragraphs, which facts these

  Defendants had a duty to disclose to Plaintiffs. The information concealed by these Defendants was

  material, Plaintiffs were ignorant of the information, and Plaintiffs relied upon these Defendants’

  silence because they would not have entered into the above-described transaction had they been

  made privy to the information.

          58.     As a result of the foregoing acts or omissions by Defendants, Plaintiffs have been

  damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which they

  now sue.




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                              PAGE 10
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 11 of
                                        15


                                        COUNT FIVE –
                                  BREACH OF FIDUCIARY DUTY

          59.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

          60.     In his capacity as a member of Westar, Kumar owed fiduciary duties to Plaintiffs,

  including, but not limited to, a duty of loyalty, a duty of candor, a duty of fair and honest dealing, a

  duty of full disclosure and a duty to refrain from self-dealing, and a duty to act fairly and in the best

  interest of Westar. By his actions described above, Kumar breached fiduciary duties to Plaintiffs.

          61.     As a result of the foregoing acts or omissions by Kumar, Plaintiffs have been

  damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which they

  now sue.

                                       COUNT SIX –
                               CONSPIRACY/AIDING & ABETTING

          62.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

          63.     Defendants all acted together to accomplish the unlawful goal of stealing millions of

  dollars from Plaintiffs. Defendants had a meeting of the minds on the object or course of action and

  committed one or more unlawful, overt acts to accomplish same.

          64.     In addition or in the alternative, Kumar and Bhatt assisted and participated in

  Gateway/PDG/Dixson’s commission of unlawful acts by pursuing a common plan or design to

  commit a tortious act, actually taking part in it or furthering it by cooperation or request, lending aid

  to the wrongdoer, or ratifying or adopting the wrongdoer’s acts.

          65.     As a result of the foregoing acts or omissions by Kumar, Plaintiffs have been

  damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which they

  now sue.

  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                             PAGE 11
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 12 of
                                        15


                                                  V.

                                        ATTORNEY’S FEES

         66.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

         67.     Plaintiffs have found it necessary to employ the services of the undersigned attorneys

  to represent them and have agreed to pay the reasonable fees and expenses incurred in prosecuting

  this matter. Pursuant to Sections 38.001 and 37.009 of the Texas Civil Practice & Remedies Code,

  Section 27.01(e) of the Texas Business & Commerce Code, and any other applicable provision at

  law or equity, Defendants are bound and obligated to pay Plaintiffs’ reasonable attorney’s fees and

  costs incurred herein, for which Plaintiffs now sue.

                                                  VI.

                                    EXEMPLARY DAMAGES

         68.     Plaintiffs re-allege and incorporate by reference all allegations contained in the

  foregoing paragraphs.

         69.     Because Defendants’ actions were fraudulent and/or made with actual awareness of

  the falsity of same, Plaintiffs are entitled to exemplary damages in an amount to be determined by

  the Court, for which they now sue. TEX. BUS. & COM. CODE § 27.01(c)-(d); TEX. CIV. PRAC. & REM.

  CODE § 41.003(a)(1).

                                                 VII.

                                   CONDITIONS PRECEDENT

         70.     All conditions precedent to Plaintiffs’ recovery have been performed or have

  occurred.




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                         PAGE 12
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 13 of
                                        15


                                                 VIII.

                                              PRAYER

         For the reasons stated, Plaintiffs prays that Defendants be cited to appear and answer herein,

  and that on final hearing, Plaintiffs Westar Investors Group, LLC, Suhail Bawa and Saleem Makani

  have judgment against Defendants The Gateway Ventures, LLC, PDG Prestige, Inc., Michael

  Dixson, Suresh Kumar, and Bankim Bhatt, jointly and severally, for the following:

         1.     Actual damages in an amount in excess of the minimum jurisdictional limits of the
                Court;

         2.     Specific performance;

         3.     Declaratory relief as requested herein;

         4.     Exemplary damages;

         5.     Reasonable and necessary attorney’s fees;

         6.     Pre-judgment interest at the rate of five percent (5%) per annum, or at the highest
                rate allowed by law;

         7.     Post-judgment interest at the rate of five percent (5%) per annum, or at the highest
                rate allowed by law;

         8.     Costs of suit; and

         9.     Such other and further relief to which Plaintiffs may show themselves justly entitled.




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                         PAGE 13
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 14 of
                                        15


                                         Respectfully submitted,

                                         By: /s/ Eric C. Wood
                                         Eric C. Wood
                                         State Bar No. 24037737
                                         BROWN FOX PLLC
                                         5550 Granite Pkwy., Suite 175
                                         Plano, Texas 75024
                                         Phone: (214) 327-5000
                                         Fax: (214) 327-5001
                                         Email: eric@brownfoxlaw.com

                                         By: /s/ Michael R. Nevarez
                                         Michael R. Nevarez
                                         State Bar No. 14933400
                                         THE NEVAREZ LAW FIRM, PC
                                         P.O. Box 12247
                                         El Paso, Texas 79913
                                         Telephone: (915) 225-2255
                                         Facsimile: (915) 845-3405
                                         Email: MNevarez@LawOfficesMRN.com

                                         ATTORNEYS FOR PLAINTIFFS
                                         WESTAR INVESTORS GROUP, LLC,
                                         SALEEM MAKANI, AND SUHAIL BAWA




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                       PAGE 14
21-03009-hcm Doc#21 Filed 07/21/21 Entered 07/21/21 15:17:34 Main Document Pg 15 of
                                        15


                                   CERTIFICATE OF SERVICE

         I hereby certify that on July 21, 2021, a true and correct copy of the foregoing document was
  served by electronic notification by the Electronic Case Filing system for the United States
  Bankruptcy Court for the Western District of Texas to the following parties who are set up to receive
  such notices and via first class mail on all other parties:

         Via ECF
         Jeffrey Thomas Lucky
         Jeff Ray
         Aldo Lopez
         Ray Pena McChristian, P.C.
         5822 Cromo Dr.
         El Paso, TX 79922
         jlucky@raylaw.com
         jray@raylaw.com
         alopez@raylaw.com

         Via ECF
         Jeff Carruth
         Weycer Kaplan Pulaski & Zuber, P.C.
         25 Greenway Plaza, #2050
         Houston, TX 77046
         jcarruth@wkpz.com

         Via ECF
         Harrel L. Davis III
         Gordon Davis Johnson & Shane P.C.
         4695 N. Mesa Street
         El Paso, Texas 79912
         hdavis@eplawyers.com

         Via First Class Mail
         Michael Dixson
         5996 Ojo de Agua
         El Paso, Texas 79912

                                                /s/ Eric C. Wood
                                                Eric C. Wood




  PLAINTIFFS’ SECOND AMENDED COMPLAINT                                                         PAGE 15
